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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
JRS                                              271 Cadman Plaza East
F.#2019R00984                                    Brooklyn, New York 11201



                                                 August 25, 2020

By ECF

The Honorable Allyne R. Ross
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:    United States v. Tyquan Jackson
                     Docket No. 19-CR-356 (ARR)

Dear Judge Ross:

               The government respectfully submits this letter to request that the Court
adjourn the status conference in this matter currently scheduled for September 28, 2020 to
October 5, 2020 at 11:00 a.m. The government submits that this adjournment is appropriate
because the attorney for the government is unavailable on September 28, 2020 because that
day is Yom Kippur. The government has conferred with counsel for the defendant, who
consents to this request and who consents to the exclusion of time from September 28, 2020
to October 5, 2020.


                                                 Respectfully submitted,

                                                 SETH D. DUCHARME
                                                 Acting United States Attorney

                                          By:     /s/ Jonathan Siegel
                                                 Jonathan Siegel
                                                 Assistant U.S. Attorney
                                                 (718) 254-6293


cc:    Clerk of Court (by ECF)
       Mark S. DeMarco, Esq. (by ECF)
